     Case 2:05-cr-00128-MCE-AC Document 465 Filed 10/29/13 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           No. 2:05-cr-00128 LKK AC P
12                       Respondent,
13           v.                                          ORDER
14   DONNA ROWE,
15                       Movant.
16

17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct her sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the requested

19   relief if she can establish a violation of her constitutional rights, respondent is directed to file an

20   answer within thirty days of the effective date of this order. See Rule 4, Rules Governing Section

21   2255 Proceedings.

22           Respondent shall include with the answer any and all transcripts or other documents

23   relevant to the determination of the issues presented in the motion. Rule 5, Rules Governing

24   Section 2255 Proceedings. Movant’s traverse, if any, is due on or before thirty days from the date

25   respondent’s answer is filed.

26   ////

27   ////

28   ////
                                                        1
     Case 2:05-cr-00128-MCE-AC Document 465 Filed 10/29/13 Page 2 of 2


 1           The Clerk of the Court shall serve a copy of this order, together with a copy of movant’s
 2   motion, on the United States Attorney or his authorized representative.
 3   DATED: October 28, 2013
 4

 5

 6

 7

 8

 9

10
     AC:ts/rowe2058.206
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
